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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------- X
WILLIAM CANDELARIA,                    :
                                       :
                                                    CASE NO.: 20-cv-02564-VEC
               Plaintiff,              :
                                       :
            v.                         :
                                       :
ADESTO TECHNOLOGIES                    :
CORPORATION, NELSON CHAN, NARBEH :
DERHACOBIAN, HERVÉ FAGES,              :
FRANCIS LEE, KEVIN PALATNIK, and       :
SUSAN UTHAYAKUMAR,                     :
                                       :
                Defendants.            :
                                       :
-------------------------------------- X

                                  NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff William Candelaria voluntarily dismisses his claims in the above-captioned

consolidated action against Defendants as moot. This notice of dismissal is being filed with the

Court before service by Defendants of either an answer or a motion for summary judgment.

Dated: May 1, 2020                               Respectfully Submitted,

                                                 MONTEVERDE & ASSOCIATES PC

                                                 /s/ Juan E. Monteverde____________
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